Case 5:18-cv-00119-TBR-LLK Document 8 Filed 08/29/18 Page 1 of 2 PageID #: 48




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION

                                       Electronically Filed

TIFFANY LOCKE                                                                       PLAINTIFF



v.                                                     CIVIL ACTION NO.: 5:18-cv-00119-TBR

                            NOTICE OF CHANGE OF ADDRESS


SWIFT TRANSPORTATION CO. OF ARIZONA, LLC
and
TEVIN J. DAVIS                                                                   DEFENDANTS

                                        ************

       Counsel for Defendants Swift Transportation Co. of Arizona, LLC and Tevin J. Davis

hereby notifies the Court and counsel that his address is changed to Kopka Pinkus Dolin PC,

462 South Fourth Street, Suite 101, Louisville, Kentucky 40202. The parties and Clerk are

requested to update their pleadings and certificates of service accordingly.




                                                     Respectfully submitted,

                                                     KOPKA PINKUS DOLIN, PC
                                                     Stockard R. Hickey III

                                                     /s/ Stockard R. Hickey III
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Case 5:18-cv-00119-TBR-LLK Document 8 Filed 08/29/18 Page 2 of 2 PageID #: 49




                               CERTIFICATE OF SERVICE

         I hereby certify that on August 29, 2018, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to counsel for Plaintiff.

                                                           /s/ Stockard R. Hickey III
                                                           Counsel for Defendants
